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             IN THE UNITED STATES BANKRUPTCY COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

IN RE:                                       )
                                             )      CHAPTER 13
MILLARD COURTNEY FARMER, JR.,                )
                                             )      CASE NO. 18-52363-JWC
      Debtor                                 )


NOTICE OF HEARING ON CONFIRMATION OF MODIFIED PLAN AND OF
DEADLINE FOR OBJECTIONS TO CONFIRMATION OF MODIFIED PLAN

       PLEASE TAKE NOTICE that the Debtor(s) has filed a preconfirmation
modification to the Chapter 13 Plan. The preconfirmation modification may
materially and adversely change the treatment or rights of creditors from those set
forth in the Chapter 13 Plan previously filed.

      Your rights may be affected. You should read the preconfirmation
modification carefully and discuss it with your attorney, if you have one in
this bankruptcy case. If you do not have an attorney, you may wish to consult
one.

       If you oppose confirmation of the Chapter 13 Plan, as modified, and do not
want the court to confirm it, or if you want the Court to consider your views, then
not less than seven days before the hearing on confirmation scheduled below, you
or your attorney must:

    1. File with the court a written objection, explaining your positions and views
        as to why the court should not confirm the Chapter 13 Plan, as modified.
              The written objection must be filed at the following address:

      Room 1340, Richard Russell Federal Building, 75 Ted Turner Dr., Atlanta,
      Ga. 30303
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      If you mail your response to the Clerk for filing, you must mail it early
      enough so that the Clerk will actually receive it not less than seven days
      before the hearing on confirmation scheduled below.

    2. Mail or deliver a copy of your written objection to the Debtor’s attorney at
       the address stated below and to the Chapter 13 Trustee. You must attach a


      Certificate of Service to your written objection, stating when, how, and on
      whom (including addresses) you served the objection.

      If you or your attorney do not file a timely objection, the court may decide
      that you do not oppose confirmation of the Chapter 13 plan, as modified.

      A hearing on confirmation of the Chapter 13 Plan, as modified, will be held
      in Room 1203, Richard Russell Federal Building, 75 Ted Turner Dr.,
      Atlanta, Ga. 30303, at 10:00 am on March 12, 2019.


      March 6, 2019.



                                             /s/ Ralph Goldberg
                                             ______________________

                                             Ralph Goldberg
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                                             Tucker, Ga. 30084
                                             770-670-7343
